Case: 2:25-cv-00042-HEA         Doc. #: 7-2 Filed: 07/14/25          Page: 1 of 4 PageID #:
                                           248




           In the United States District Court for the Eastern District of Missouri
                                         at Hannibal

Hannibal-LaGrange University,
              Plaintiff,                  Case No. 2:25-cv-00042-HEA
vs.
Linda McMahon, et al.
           Defendants.



     DECLARATION OF DR. ROBERT M. MATZ IN SUPPORT OF PLAINTIFF’S MOTION FOR

                                    PRELIMINARY RELIEF

  I, Robert M. Matz, pursuant to 28 U.S.C. § 1746, declare as follows:

      1. I am the President of Hannibal-La Grange University (“HLGU”). I have served in

         that role since October 14, 2022. The facts stated below are based on my

         personal knowledge or on information and records kept in the ordinary course

         of HLGU’s business.

      2. HLGU is a Baptist institution of higher education located in Hannibal, Missouri.

         HLGU participates in federal Title IV programs under a Program Participation

         Agreement (“PPA”) with the U.S. Department of Education (“Department”).

      3. In 2024 the Department adopted a new interpretation of 34 C.F.R. §

         668.14(a)(3) (2023) requiring the co-signature of the Missouri Baptist

         Convention, or its designee, on any update or renewal of the PPA agreement

         (the “Co-Signature Mandate”). HLGU has challenged that mandate in this

         action.




                                              1
Case: 2:25-cv-00042-HEA       Doc. #: 7-2 Filed: 07/14/25           Page: 2 of 4 PageID #:
                                         249



    4. HLGU has been harmed by the Co-Signature Mandate in ways that involve

       monetary damages, and non-monetary harms.

    5. Many of these harms are described in HLGU’s complaint, but I make this

       declaration to draw special attention to harms to HLGU’s goodwill, reputation,

       academic, religious and charitable missions, and its ability to serve students.

    6. The Co-Signature Mandate is currently harming HLGU's ability to service

       students, even in programs currently listed in HLGU's PPA.

    7. During HLGU’s most recent spring Enrollment Day, an admitted undergraduate

       informed our admissions staff that she had “chosen HLGU” because she “would

       get the TEACH grant here.” Teach Grants provide additional tuition forgiveness

       and grants to students willing to commit to teach in impoverished areas.

    8. HLGU does not list the TEACH Grant Program in its award letters or on its

       website. But without relief, HLGU will not be a participating institution during

       the student's entire degree program, and the student will not be eligible for a

       complete TEACH Grant. Without relief, HLGU's inability to participate in Title

       IV will affect students like this, who would have to go without the funds she is

       otherwise entitled to, or shift to another participating institution.

    9. HLGU cannot know how many similarly situated students will have their career

       plans upset, or how many potential students will silently strike the University

       from consideration, but this encounter demonstrates that the Mandate is

       already impairing HLGU’s ability to recruit future teachers into high-need




                                             2
Case: 2:25-cv-00042-HEA       Doc. #: 7-2 Filed: 07/14/25         Page: 3 of 4 PageID #:
                                         250



       fields—a core part of our Christian mission of service, and compatible with the

       Governmental interest of attracting teachers to high-need areas.

    10. In October 2024, HLGU launched an expanded, fully online Master of Arts in

       Counseling (“MACO-Online”). The program addresses a documented shortage

       of counselors in HLGU's service area.

    11. Because the Department will not process a PPA update without the MBC's

       signature, Title IV benefits, including federal Direct Loans, are unavailable to

       MACO-Online students. HLGU discloses this limitation on its program webpage.

       See https://www.hlg.edu/academics/maco-online/

    12. Since February 2025, admissions counselors have reported several prospective

       students who did not enroll after learning that federal loans are unavailable.

       Those students were provided private‐loan options but ceased further

       communication. Again, HLGU cannot measure how many additional candidates

       never after learning of the limitation.

    13. The Co-Signature Mandate, therefore, presently diminishes the credibility of

       the MACO-Online program, damages HLGU’s reputation as a comprehensive

       educator, and compromises our effort to serve mental-health needs in

       underserved communities.

    14. The uncertainty surrounding Title IV is already unsettling current students and

       parents, who routinely request assurances that aid will be available through

       their anticipated graduation dates. Loss of confidence in the stability of

       financial-aid offerings damages relationships, erodes goodwill among alumni




                                             3
Case: 2:25-cv-00042-HEA         Doc. #: 7-2 Filed: 07/14/25          Page: 4 of 4 PageID #:
                                           251



        and donors, and undermines HLGU’s witness as a reliable steward of Christian

        higher education.

     15. HLGU has also been harmed by the chilling of its religious exercise, and by the

        demand that HLGU alter its faith-based leadership selection process, in

        violation our Baptist convictions.

     16. The foregoing harms—loss of religious freedom, the loss of mission-driven

        students, damage to program credibility, and uncertainty surrounding Title IV

        participation—cannot be remedied by money damages. They injure HLGU’s

        reputation, frustrate its educational mission, and impair relationships critical to

        its continued existence.

 I declare under penalty of perjury that the foregoing is true and correct. Executed on

 this 11th day of July 2025, in Hannibal, Missouri.




                                             Dr. Robert M. Matz

                                             President, Hannibal-La Grange University




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